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      Attorneys for Plaintiff
8

9                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                              )
       WILLIAM LOFTUS; LOUIS FLOYD AND ) Case No.
12     TERRY FABRICANT individually and on
       behalf of all others similarly situated, ) 2:20-cv-04671-DSF-MRW
13
                                                )
14
       Plaintiffs,                              )
       vs.                                      ) NOTICE OF SETTLEMENT
15
                                                )
16     VOICE DIRECTORIES LLC.; and DOES ) AS TO INDIVIDUAL CLAIMS
       1 through 10, inclusive,                   ONLY
17     Defendant.                               )
                                                )
18
                                                )
19                                              )
20          NOW COMES THE PLAINTIFF by and through their attorney to
21
      respectfully notify this Honorable Court that this case has settled individually.
22
      Plaintiff requests that this Honorable Court vacate all pending hearing dates and
23
      allow sixty (60) days with which to file dispositive documentation. This Court
24
      shall retain jurisdiction over this matter until fully resolved.
25
      Dated: October 13, 2020            Law Offices of Todd M. Friedman, P.C.
26

27                                                               By: s/ Adrian R. Bacon
28                                                                     Adrian R. Bacon



                                          Notice of Settlement
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1
                              CERTIFICATE OF SERVICE
2

3     Filed electronically on October 13, 2020, with:
4
      United States District Court CM/ECF system
5

6
      Notification sent electronically on October 13, 2020, to:

7     To the Honorable Court, all parties and their Counsel of Record
8

9
      s/Adrian R. Bacon
10     Adrian R. Bacon
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                                         Notice of Settlement
